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 5                                         THE HONORABLE JAMES L. ROBART
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 7
                         UNITED STATES DISTRICT COURT
 8                      WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE
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10   MICROSOFT CORPORATION,             No. 2:20-CV-01216-JLR
11                  Plaintiff,          COMPLAINT AND JURY DEMAND
12        v.
13   NEODRON LTD., ATMEL
     CORPORATION, and ATMEL GLOBAL
14   SALES LTD.,
15                  Defendants.
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                                  [REDACTED VERSION]
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                                                             Perkins Coie LLP
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     COMPLAINT AND JURY DEMAND                            Seattle, WA 98101-3099
     (No. 2:20-cv-01216-JLR) –1                             Phone: 206.359.800
                                                           Fax: 206.359.9000
 1          Plaintiff Microsoft Corporation (“Microsoft”), for its Complaint against Neodron Ltd.
 2   (“Neodron”), Atmel Corporation, and Atmel Global Sales Ltd. (collectively, “Atmel”), hereby
 3   alleges and prays as follows:
 4                                          INTRODUCTION
 5          1.      Microsoft brings this lawsuit seeking specific performance of a covenant not to
 6   sue, damages for breach of contract, and a declaratory judgment regarding indemnity obligations.
 7   Neodron is bound by a component purchase agreement (“CPA”) that prohibits Neodron from
 8   bringing certain patent infringement claims against Microsoft. Despite this prohibition, Neodron
 9   has filed nine patent infringement actions against Microsoft in violation of the covenant.
10   Microsoft therefore seeks an Order enjoining Neodron from the continued pursuit of these
11   prohibited patent claims as well as damages to compensate for Neodron’s breach. Atmel has
12   also breached the CPA and the covenant of good faith and fair dealing by enabling Neodron’s
13   patent claims and by refusing to defend and indemnify Microsoft from them. Microsoft seeks a
14   judgment that Atmel has a duty to defend, and a declaration that Atmel has a duty to indemnify,
15   Microsoft with regard to certain of Neodron’s claims.
16          2.      Neodron acquired the patents asserted against Microsoft from Atmel pursuant to a
17   Patent Sale and Assignment Agreement (“PSA”). Neodron separately and independently agreed
18   with Atmel that its purchase of the patents would be subject to encumbrances set forth in the
19   PSA, which necessarily includes the covenant not to sue provision in the CPA. Microsoft is a
20   third-party beneficiary of the PSA and is entitled to enforce the obligations imposed on Neodron
21   by the PSA. Consequently, by bringing a multitude of patent infringement actions around the
22   world, Neodron has breached not only the CPA, but the PSA as well.
23                                               PARTIES
24          3.      Plaintiff Microsoft is a publicly traded corporation organized under the laws of
25   the State of Washington with its principal place of business in Redmond, Washington.
26

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 1          4.      On information and belief, Defendant Neodron is an Irish company with its
 2   principal place of business in Dublin, Ireland. Neodron is a non-practicing entity that was
 3   formed in December 2018 to acquire the touch technology patents that Neodron has asserted
 4   against Microsoft.
 5          5.      On information and belief, Defendant Atmel Corporation is a Delaware
 6   corporation with its principal place of business in Chandler, Arizona. In 2016, Atmel
 7   Corporation was acquired by Microchip Technology Incorporated (“MTI”). According to MTI,
 8   Atmel maintains a separate corporate existence as a wholly owned subsidiary of MTI.
 9          6.      On information and belief, Defendant Atmel Global Sales Ltd. is a Labuan
10   company with its principal place of business in Labuan, Malaysia. In 2016, Atmel Global Sales
11   Ltd. was acquired by MTI.
12                                    JURISDICTION AND VENUE
13          7.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
14   § 1332(a) because the matter in controversy exceeds the sum or value of $75,000, exclusive of
15   costs and interest, and there is complete diversity of citizenship between the parties. This Court
16   has jurisdiction to enter declaratory relief pursuant to the Declaratory Judgment Act, 28 U.S.
17   Code § 2201.
18          8.      This Court has personal jurisdiction over Neodron because Neodron purposefully
19   availed itself of the rights and privileges of this jurisdiction when it acquired the Atmel patents
20   subject to the encumbrances imposed by the CPA and the PSA.
21                                                              Moreover, since its acquisition of
22   patents from Atmel, Neodron has separately agreed to avail itself of the privileges of doing
23   business in the state of Washington regarding this dispute by
24                                                                                The interests of justice
25   and fair play are served by the exercise of personal jurisdiction over Neodron. Venue is also
26   proper under 28 U.S.C. § 1391(b) for this reason.
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 1          9.      The Court has personal jurisdiction over Atmel because
 2                                                                            Upon information and
 3   belief, Atmel also regularly transacted business in this judicial district and division by, among
 4   other things, its significant sales and licensing arrangement for the supply of components to
 5   Microsoft. Venue is also proper under 28 U.S.C. § 1391(b) for this reason.
 6                                     FACTUAL BACKGROUND
 7   A.     Microsoft’s Pre-Existing Covenants With Atmel
 8          10.     Microsoft and Atmel executed the CPA on August 12, 2011 to govern the sale of
 9   Atmel “Products” to Microsoft for incorporation into “Microsoft Devices.”
10          11.     Under the CPA,
11                                                                                                     For
12   the remainder of this Complaint, “Products” are referred to as “Atmel Components” or
13   “Components.”
14          12.     Exhibit A to the CPA is used to document Microsoft’s purchases of Atmel
15   Components. The Exhibit contains various information
16

17                                                                                                 A blank
18   Exhibit A was attached to the 2011 CPA and, throughout the years, the parties amended the
19   Exhibit each time Microsoft purchased a Component from Atmel to be incorporated into a new
20   Microsoft Device.
21          13.     Under the CPA, Atmel covenanted that it would
22

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24                                         This covenant not to sue only applies during the “CNS
25   Period,” which is defined in the CPA as:
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                                    g                                                           y
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 5   (Emphasis added).

 6

 7          14.     Further,

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11                                                                                                   .

12          15.     The CPA contains a forum selection clause for disputes concerning the

13   applicability or interpretation of the covenant not to sue provision

14                                                                                                          f

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16          16.     In 2014, Atmel and Microsoft agreed that the CPA would extend until August 12,

17   2016, at which point it would then automatically extend on a yearly basis, unless either party

18   terminated the agreement in writing. Neither party has terminated the CPA.

19   B.     Atmel’s Patent Sale to Neodron
20          17.     In December 2018, Neodron entered into the PSA with Atmel and MTI. Pursuant

21   to the PSA, Neodron acquired the right, title, and interest in and to a number of touch technology

22   patents from Atmel. These included all of the patents that Neodron has since asserted against

23   Microsoft except U.S. patent number 8,749,251 (“‘251 Patent”), which was sold to Solas OLED

24   Ltd. on December 21, 2018, then assigned to Neodron on September 19, 2019.

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 1   C.       Neodron’s Patent Infringement Lawsuits against Microsoft and its Breach of the
              Covenant Not to Sue
 2
              18.   As of the date of this complaint, Neodron has sued Microsoft nine different times
 3
     in four different jurisdictions for allegedly infringing patents that had previously belonged to
 4
     Atmel. Specifically, Neodron has sued Microsoft twice in the United States International Trade
 5
     Commission for allegedly infringing U.S. patents numbers 8,432,173 (“‘173 Patent”); 8,791,910
 6
     (“‘910 Patent”), 9,024,790 (“‘790 Patent”), 9,372,580 (“‘580 Patent”), 7,821,425 (“‘425 Patent”),
 7
     7,903,092 (“‘092 Patent”), and the ‘251 Patent; three times in the United States District Court for
 8
     the Western District of Texas for allegedly infringing the ‘173, ‘910, ‘790, ‘580, ‘425, ‘920, and
 9
     ‘251 Patents and U.S. patent numbers, 8,102,286, 9,086,770, 8,946,574, 8,502,547, and
10
     10,088,960; twice in China for allegedly infringing patent numbers CN104111762B and
11
     CN101390290B; and twice in Germany for allegedly infringing patent numbers EP 1,964,265 B1
12
     and DE 10,2014,207,005 B4. In each of those these actions, Neodron accuses Microsoft of
13
     patent infringement arising from Microsoft’s sale and import of Microsoft Devices that
14
     incorporate Components purchased under the CPA.
15
     D.       Atmel’s Obligations to Defend and Indemnify Microsoft with respect to Neodron’s
16            Patent Infringement Lawsuits
17            19.   Pursuant to the CPA, Atmel agreed to defend and indemnify Microsoft against all

18   claims

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20                     .

21            20.   Microsoft has provided reasonable notice and tendered its defense and

22   indemnification obligations to Atmel for all nine of Neodron’s patent infringement lawsuits.

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 1                                        CAUSES OF ACTION
 2                               FIRST CAUSE OF ACTION:
                      NEODRON’S BREACH OF THE COVENANT NOT TO SUE
 3
             21.     Microsoft incorporates and realleges Paragraphs 1 through 20 of this Complaint,
 4
     as if set forth fully herein.
 5
             22.     Neodron acquired the Atmel patents subject to encumbrances, including the
 6
     CPA’s covenant not to sue Microsoft for selling or importing Microsoft Devices that contain
 7
     Components sold under the CPA. When Neodron sued Microsoft for patent infringement,
 8
     accusing Microsoft Devices that contain Components sold under the CPA, it breached the
 9
     covenant not to sue provision of the CPA.
10
             23.     Microsoft is entitled to a judgment and declaration that Neodron has breached the
11
     CPA’s covenant not to sue provision and an injunction of specific performance of the CPA, as
12
     well as an injunction barring Neodron from pursuing or assisting in any assertion of former
13
     Atmel patents against relevant Microsoft Devices for the remainder of the CNS Period.
14
                         SECOND CAUSE OF ACTION:
15    NEODRON’S BREACH OF THE PATENT SALE AND ASSIGNMENT AGREEMENT
16           24.     Microsoft incorporates and realleges Paragraphs 1 through 23 of this Complaint,
17   as if set forth fully herein.
18           25.     In the PSA, Neodron agreed to take Atmel’s patents subject to encumbrances.
19           26.     Microsoft is a third-party beneficiary of the PSA due to the agreement specifically
20   referencing encumbrances on Atmel’s patents, such as the covenant not to sue provision in the
21   CPA.
22           27.     Microsoft is entitled to a judgment and declaration that Neodron has breached the
23   PSA by not honoring the benefits owed to Microsoft as a third-party beneficiary of that
24   agreement.
25

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 1           28.     Microsoft is also entitled to recover damages caused by Neodron’s breach,
 2   including attorneys’ fees, costs and expenses of defending Neodron’s lawsuits against Microsoft
 3   and its customers.
 4                                THIRD CAUSE OF ACTION:
                        ATMEL’S BREACH OF THE COVENANT NOT TO SUE
 5
             29.     Microsoft incorporates and realleges Paragraphs 1 through 28 of this Complaint,
 6
     as if set forth fully herein.
 7
             30.     Atmel covenanted that it would not assert a claim for patent infringement against
 8
     Microsoft Devices that contain Atmel Components subject to the CPA. Despite that promise,
 9
     Atmel sold its patents to Neodron to enable Neodron to do just that.
10
             31.     Microsoft is entitled to a judgment and declaration that Atmel has breached the
11
     covenant not to sue in the CPA, or an injunction of specific performance of the CPA, and an
12
     injunction barring Atmel from pursuing or assisting in any assertion of former Atmel patents
13
     against any Microsoft Device for the remainder of the CNS Period.
14
                          FOURTH CAUSE OF ACTION:
15     ATMEL’S BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING
16           32.     Microsoft incorporates and realleges Paragraphs 1 through 31 of this Complaint,
17   as if set forth fully herein.
18           33.     Under Washington law, every contract contains “an implied duty of good faith
19   and fair dealing” that “obligates the parties to cooperate with each other so that each may obtain
20   the full benefit of performance.” Rekhter v. State, Dep't of Soc. & Health Servs., 180 Wn.2d
21   102, 112–13, 323 P.3d 1036, 1041 (2014) (quoting Badgett v. Sec. State Bank, 116 Wn.2d 563,
22   569, 807 P.2d 356 (1991)).
23           34.     Microsoft formed a business relationship with Atmel. Microsoft expected that the
24   Microsoft Devices built with Atmel Components would not be accused of infringing Atmel’s
25   patents. Microsoft expected that Atmel would not orchestrate the sale of its patents to Neodron
26   for the purpose of enabling and encouraging Neodron to sue Microsoft. Atmel’s purported
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 1   transfer to Neodron sought to deprive Microsoft of a key benefit of its bargain. Atmel’s failure
 2   to honor its obligations to Microsoft violates the duty of good faith and fair dealing.
 3            35.    Microsoft is entitled to a judgment that Atmel has breached the covenant of good
 4   faith and fair dealing in the CPA and an injunction barring Atmel from any further acts that
 5   frustrate the benefits Microsoft was entitled to under that CPA, including the covenant not to sue.
 6            36.    Microsoft is also entitled to recover damages caused by Atmel’s breach, including
 7   attorneys’ fees, costs and expenses of defending Neodron’s lawsuits against Microsoft and its
 8   customers.
 9                              FIFTH CAUSE OF ACTION:
                    ATMEL’S BREACH OF ITS DUTY TO DEFEND MICROSOFT
10
              37.    Microsoft incorporates and realleges Paragraphs 1 through 36 of this Complaint,
11
     as if set forth fully herein.
12
              38.    Atmel has a duty to defend Microsoft in Neodron’s patent infringement lawsuits.
13
     Atmel agreed to defend Microsoft for
14
                                                                                   Neodron has accused
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     Microsoft Devices, which are enabled by Atmel Components, of patent infringement. In other
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     words,
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              39.    Microsoft has notified Atmel pursuant to the terms of the CPA of its duty to
19
     defend Microsoft against Neodron’s patent infringement lawsuits.
20
              40.    Microsoft has fully performed its obligations under the CPA and has satisfied the
21
     CPA’s conditions.
22
              41.    Microsoft has incurred and will continue to incur costs defending itself against
23
     Neodron’s patent infringement lawsuits. Atmel’s failure to defend Microsoft is a breach of the
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     CPA for which Microsoft is entitled to recover damages.
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 1                              SIXTH CAUSE OF ACTION:
                   ATMEL’S BREACH OF ITS DUTY TO INDEMNIFY MICROSOFT
 2
             42.        Microsoft incorporates and realleges Paragraphs 1 through 41 of this Complaint,
 3
     as if set forth fully herein.
 4
             43.        Atmel has a duty to indemnify Microsoft in Neodron’s patent infringement
 5
     lawsuits. Atmel agreed to indemnify Microsoft for
 6
                                                                                              Neodron has
 7
     accused Microsoft Devices, which are enabled by Atmel Components, of patent infringement. In
 8
     other words,
 9
                                                                                     If Neodron prevails,
10
     Atmel is obligated to indemnify Microsoft.
11
             44.        Microsoft has fully performed its obligations under the CPA and has satisfied all
12
     of the CPA’s conditions.
13
             45.        Microsoft will be damaged through no fault of its own if Neodron is successful in
14
     its patent infringement lawsuits. As a result, Microsoft is entitled to declaratory judgment that
15
     Atmel is obligated under the terms of the CPA to fully and timely indemnify and pay for any
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     harm incurred by Microsoft in Neodron’s patent infringement lawsuits.
17
                                                 JURY DEMAND
18
             46.        Pursuant to Federal Rule of Civil Procedure 38(b), Microsoft demands a trial by
19
     jury as to all issues so triable in this action.
20
                                            PRAYER FOR RELIEF
21
             WHEREFORE, Plaintiff Microsoft prays for the following relief:
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                   a.      A judgment and declaration that Neodron has breached the covenant not to
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                           sue provision in the CPA;
24
                   b.      Specific performance of the covenant not to sue in the form of temporary and
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                           permanent injunctive relief barring Neodron from pursuing its pending
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 1               lawsuits based on Microsoft Devices covered by the covenant not to sue
 2               provision in the CPA;
 3         c.    A judgment and declaration that Neodron breached the PSA by refusing to
 4               recognize encumbrances on its patents;
 5         d.    A judgment and declaration that Atmel has breached the covenant not to sue
 6               provision in the CPA;
 7         e.    A judgment that Atmel has breached the covenant of good faith and fair
 8               dealing;
 9         f.    A judgment that Atmel is obligated to pay all defense expenses, including
10               reasonable attorneys’ fees and costs, that Microsoft has incurred and will incur
11               from defending itself against Neodron’s patent infringement lawsuits;
12         g.    A declaration that Atmel is obligated to indemnify Microsoft for any resulting
13               judgment against Microsoft as a result of Neodron’s patent infringement
14               lawsuits; and
15         h.    Such other relief awarded in favor of Microsoft and against Atmel as is
16               deemed just and equitable.
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14

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 1                                     CERTIFICATE OF SERVICE
 2          I certify that I will cause the foregoing document to be served on the following parties by
 3   the method(s) indicated.
 4
      Lawrence D. Graham                            ___ Via hand delivery
 5                                                  ___ Via U.S. Mail
      Graham@LoweGrahamJones.com
                                                    ___ Via Overnight Delivery
 6    LOWE GRAHAM JONES PLLC                        ___ Via Facsimile
      701 Fifth Avenue, Suite 4800                   X Via Email
 7    Seattle, WA 98104                             ___ Via ECF
 8    Phone: 206-381-3300 / Fax: 206-381-3301

 9    Attorneys for Defendant Neodron, Ltd.

10
      Atmel Corporation                             ___ Via hand delivery
11    818 West 7th Street, Suite 930                 X Via U.S. Mail
                                                    ___ Via Overnight Delivery
      Los Angeles, CA 90017                         ___ Via Facsimile
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      Atmel Global Sales, Ltd.                      ___   Via hand delivery
15    Suite 4, Noblehouse Business Centre           ___   Via U.S. Mail
                                                     X    Via International Courier
16    Level 1, Lot 8, Block F                       ___   Via Facsimile
      Saguking Commercial Building                  ___   Via Email
17    Jalan Patau-Patau                             ___   Via ECF
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18

19
            DATED this 15th day of September, 2020.
20
                                                          /s/ T. Andrew Culbert
21                                                        T. Andrew Culbert
22

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